        Case 1:17-cv-01169-VEC Document 18 Filed 11/15/17 Page 1 of 1




                                                                                        Robert Penchina
                                                                                        Tel: 212.850.6109
                                                                                        Fax: 212.223.1942
                                                                                        penchinar@ballardspahr.com




November 15, 2017


VIA ECF

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square, Room 443
New York, NY 10007

Re:     Tannen v. CBS Interactive Inc., 1:17-cv-1169 (VEC)


Dear Judge Caproni:

         We represent defendant CBS Interactive Inc. in the above-referenced matter. We write on
behalf of both parties to inform the Court that the parties have reached a settlement in principle to
fully and finally resolve all claims in this matter. The parties respectfully request that all existing due
dates, including the pre-trial conference scheduled for November 17, be held in abeyance for 30 days
to permit the parties to finalize their written agreement and submit a stipulation of dismissal.
Counsel for Plaintiff has reviewed and approved this letter.

Very truly yours,



Robert Penchina




cc:     All Counsel of Record (via ECF)
